                    Case 1:16-cv-03088-ELR                Document 2         Filed 08/23/16          Page 1 of 2


AO 440 (Rev . 06/ 12) Summons in a Civi l Action


                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                     Northern District of Georgia


                   United States of America                        )
                                                                   )
                                                                   )
                                                                   )
                              Plaintiff(s)
                                                                   )
                                                                   )
                                  V.
                                                                   )
                                                                          Civil Action No.   1:16-cv-3088
                         State of Georgia                          )
                                                                   )
                                                                   )
                                                                   )
                            Defendant(s)                           )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) State of Georgia
                                    c/o Nathan Deal
                                        Governor
                                        Office of the Governor
                                        206 Washington Street
                                        111 State Capitol
                                         Atlanta, Georgia 30334

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: U.S. Department of Justice                         U.S. Attorney-NOGA
                                 Civil Rights Division                          75 Ted Turner Drive
                                 Educational Opportunities Section              Atlanta, Georgia 30303
                                 950 Pennsylvannia Avenue , N.W.                 ATTN : Aileen Bell-Hughes
                                 Washington , D.C. 20530
                                 ATTN : Andrea Hamilton

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              JAMES N. HATTEN
                                                                             CLERK OF COURT


           08/23/2016                                                                                  s/Joyce White
Date:
                                                                                        Signature of Clerk or Deputy Clerk
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Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                   , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                                ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                  on (date)                           ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                              Server 's signature



                                                                                          Printed name and title




                                                                                              Server 's address


Additional information regarding attempted service, etc:
